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                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


   HM FLORIDA-ORL, LLC,

                       Plaintiff,

   v.                                                     Case No: 6:23-cv-950-GAP-LHP

   MELANIE GRIFFIN,

                       Defendant



                                             ORDER
          This cause came on for consideration without oral argument on the following motion

   filed herein:

          MOTION: AGREED MOTION TO MODIFY SCHEDULING
                  ORDER (Doc. 53)

          FILED:       November 20, 2023



          THEREON it is ORDERED that the motion is GRANTED.

    Discovery Deadline                                                   January 30, 2024
    Dispositive Motions                                                 February 29, 2024
    The parties will be advised if paper copies of exhibits in
    support of motions will be required.
    Daubert Motions                                                        March 30, 2024
    The parties will be advised if paper copies of exhibits in
    support of motions will be required.
    Meeting In Person to Prepare Joint Final Pretrial                        May 29, 2024
    Statement
    Joint Final Pretrial Statement                                           June 10, 2024
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    All Other Motions Including Motions in limine                     June 28, 2024

    Final Pretrial Conference                         Date:        July 11, 2024
                                                      Time:            1:00 PM
                                                     Judge:    Judge Gregory A.
                                                                        Presnell
    Trial Briefs and Color-Coded Deposition Designations           July 29, 2024

    Trial Begins                                                 August 19, 2024
                                                                    at 9:00 a.m.
    Estimated Length of Trial                                             2 days

    Jury/Non-Jury                                                        Non-Jury


         DONE and ORDERED in Orlando, Florida on November 22, 2023.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




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